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15                                                 Product and Technology LLC
16
                                 UNITED STATES DISTRICT COURT
17
                                NORTHERN DISTRICT OF CALIFORNIA
18
   JON HART, ALEX DANIELS, and JOSHUA              Case No. 4:20-cv-03842-JST
19 DUNLAP,

20                                                 Class Action
                  Plaintiffs,
21         vs.                                     JOINT STATUS REPORT

22 TWC PRODUCT AND TECHNOLOGY LLC,

23                Defendant.
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                                                                            Case No. 4:20-cv-03842-JST
                                                                             JOINT STATUS REPORT
        Case 4:20-cv-03842-JST Document 202 Filed 04/24/23 Page 2 of 3



                                       JOINT STATUS REPORT
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 2          Pursuant to the Court’s March 30, 2023 Order (Dkt. 198), Plaintiffs Jon Hart, Alex Daniels,

 3 and Joshua Dunlap (collectively “Plaintiffs”) and Defendant TWC Product and Technology LLC

 4 (“Defendant” or “TWC,” and together with Plaintiffs, the “Parties”), by and through their

 5 undersigned counsel, submit this Joint Status Report.

 6          Since the Court entered its Order, the Parties have been diligently working to resolve this

 7 dispute and have agreed to a resolution in principle. The Parties are now working to memorialize

 8 and finalize that agreement. Accordingly, the Parties respectfully request that the Court enter an

 9 order setting a date in early June 2023, by which time the Parties will be able to either (1) confirm

10 the matter has been resolved and file the paperwork necessary to finalize that resolution or (2) file

11 a Joint Status Report advising on the status of the ongoing matter.

12 DATED: April 24, 2023                   QUINN EMANUEL URQUHART & SULLIVAN, LLP
13                                          By /s/ Stephen A. Broome
14                                            Stephen A. Broome
                                              Attorney for Defendant TWC
15                                            Product and Technology LLC
16

17 DATED: April 24, 2023                   PRICE ARMSTRONG LLC

18                                          By /s/ Oscar M. Price
                                              Oscar M. Price, IV
19                                            Attorney for Plaintiffs Jon Hart, Alex Daniels, and Joshua
                                              Dunlap
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                                                                                  JOINT STATUS REPORT
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 1                                         ATTESTATION

 2          I, Stephen A. Broome, am the ECF User whose ID and password are being used to file this

 3 document. In compliance with Civil Local Rule 5-1(h)(3), I hereby attest that Oscar M. Price, IV

 4 has concurred in this filing.

 5

 6 DATED: April 24, 2023                QUINN EMANUEL URQUHART & SULLIVAN, LLP

 7                                      /s/ Stephen A. Broome

 8                                      Stephen A. Broome

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                                                                              JOINT STATUS REPORT
